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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------   x
                                                               :
ENTERTAINMENT ONE US LP,                                       :   18 civ 7147
                                                               :
                           Petitioner,                         :   RULE 7.1 STATEMENT
                                                               :
                  -against-                                    :
                                                               :
JAMES ROBINSON,                                                :
                                                               :
                            Respondent.                        :
                                                               :
------------------------------------------------------------   x


         Petitioner Entertainment One US. L.P. as and for its Disclosure Statement Pursuant to

F.R.C.P. 7.1, states as follows:

         Entertainment One US L.P. is indirectly owned by Entertainment One Ltd. which is

publicly held.

Dated: New York, New York
       August 8, 2018
                                                      DANIEL J. AARON, P.C.


                                                      s/Daniel J. Aaron, Esq.
                                                      ______________________
                                                      By: Daniel J. Aaron, Esq.
                                                      Attorney for Petitioner
                                                      Entertainment One US L.P.
                                                      750 Third Avenue, Suite 1006
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